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                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA           )
                                   )
                                   )
v.                                 )    Case No. 21-cr-00080-ZMF
                                   )
BRANDON FELLOWS,                   )
                                   )
                                   )
                 Defendant         )
                                   )



     DEFENDANT, BRANDON FELLOWS’, MEMORANDUM TO 58-1/ MOTION/
        RESPONSE TO GOVERNMENTS RESPONSE OF 58-1 IN ADVANCE
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  Memorandum to 58-1/ Motion/ Response to Governments Response of 58-1 in Advance

        Motion respectfully asking the Judge to grant my relief despite arguments from the

Government/ to enforce the constitution/ stop the constitutional abuse towards us January 6th

defendants in the D.C correctional facility (and any others being abused unconstitutionally as

well in the jail).

    -   Goal: I'd like you to give us the triple C's and HR double V's and help fix and enforce the

        jails grievance process.

    -   Requests to be considered: Church, Clergy, Classrooms, Haircuts, Recreation,

        Visitations, and Video calls. I'll separately address papers, stamps, and pens in a separate,

        shorter memorandum. These are what everyone else gets aside from us January 6th

        defendants in the pod. Even the vaccinated don't get these services (except haircuts).

Section 1:

        Judge, I respectfully remind you that you took an oath to the constitution and to protect it.

Since October of 2021 I've written about these abuses, though thanks to my radical leftist

counsel, as well as this jail, you didn't see it until late December 1st, 2021. However, our

inhumane and cruel treatment has been known to the nation and many other countries long

before that.

        You personally stood up for others regarding them missing 1 Sunday of church and gave

them injunctive relief upon request, all while throwing away the government’s arguments using

Covid as an excuse to stop the churches. We January 6th defendants are at 58 and counting (as of

2/20/22) weeks later, still begging month after month not just for church, but all the other

services that have been discriminatorily denied to us. I'm asking you do what you rightly did
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before in similar and less extreme cases; grant us the relief we need and continue to defend the

constitution as you have in the past.

       Last time in court, I literally begged you to give our rights that were unjustifiably stolen

from us as I explained, with tears in my eyes and crackling voice, how these abuses were

mentally, physically, and emotionally crippling us. I am glad that not even one week later, on

Valentine’s Day, you responded to my in-person pleas. I never would have guessed that the best

letter I ever received on Valentine’s Day would come from my judge in a criminal case involving

a supposed insurrection at the Capitol of the United States. However, things have been anything

but ordinary for me ever since January 6th, 2021.

       As I shared with you, the Washingtonian in December of 2021 called us “This cities most

hated group”, however you could just walk down the street, or turn the T.V. on to realize that. I

then pointed out to you that this isn't the first time a Democrat-majority city continually deprived

its most hated group of its constitutional and God given rights. So too did the hateful racist

Democrats in 1950s in Montgomery Alabama against its African American population.

       You smiled when I mentioned this and though I don't know why, perhaps it's because,

like most, I have debated both inside and outside of this jail, you don't see it as similar or

correlated.

       This too is something most of the non-January 6th defendants (and even including some of

us) in jail felt and said to me when I debated them. However, if this is the case, perhaps like

many of them your mind will be changed when doing some comparisons. I will share that some

people remarked that they were going to stab me for suggesting these had similarities, but despite

their threats and the potential for injury, I took no fear in expressing the truth. Many in those

pods minds were changed. I understand by sending you this I potentially will suffer either openly
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or in unknown ways (probably from the propaganda journalists), but again I'm not afraid of

sharing the truth. My hope is that like the many people I've debated in this jail and outside it, you

will see I have good points and agree that what I said is correlated, relevant and will proceed to

act on it.

        I'd like to make this portion of my motion festive in light of black history month to show

you how correlated our treatment really is, and of course concede on some clear differences.

After all, not only does history tend to repeat itself, but few ever truely learn from it.

        It's black history month, and there's a lot to learn from it. I find these deprivations,

discriminations, and unequal treatments to have strong correlations to what my black brothers

suffered under the racist Democrats after the abolition of slavery, thanks to Republican Abraham

Lincoln up until the Brown V. Board of Education decision, which the Democrats also hated.

        I do find our struggle in this Democratic-stronghold city similar to the black populations

struggle in the 1950s Democrat-stronghold city of Montgomery, Alabama. Yes, the same city

with Rosa Parks segregated bus incident, the city many referred to as the “Cradle of the

Confederacy”, it even held the Confederate Headquarters early on in the Civil War.

        With over 96% of people in D.C. voting for the pro-segregationist Joe Biden who said

"Without segregation our schools would be a racial jungle", " Obama was the first smart eloquent

black man I ever met", and whose mentor/ life-long friend, was KKK member Robert Byrd, this

city sure is a modern day Montgomery, Alabama.

        With 96% of D.C. voting for Kamala Harris for Vice President despite her past as an

Attorney General where she didn't release black prisoners and continued forcing them to fight

fires (slavery), and where she tried to deny a black man on death row his discovery which ended

up saving his life, this city sure is a modern-day Montgomery.
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       With the Democrats in charge of this city for decades and the jail only having a 3% white

population, this sure is a modern day.... Oh, wait, that's worse than 1950s Montgomery. Hooray

for Democrats virtue signaling they care about black people?

       Wait, Joe Bidens favorite song is “Despacisto” and his Vice President has been saying

she's black for almost a full 4 years now! They totally aren't pandering to a base(s) and fooling

them like President Lyndon B Johnson (Democrat whose party friends were KKK supporters)

said to do in order to get the minorities votes ("I'll keep them n****** voting Democrat for the

rest of their lives!"). Slow Joe calls others racist towards black communities, and there's totally

no such thing as reflecting, gas lighting, or virtue signaling. Joe Biden is here to help the black

population just like DC's Democrats have helped make this city a peaceful haven for all as seen

by tons of homeless people, murders, car jackings, shootings, riots, etc. Trust the political

science!

       Seriously though, just like Joe Bidens biggest targets have changed (outwardly at least),

so too have the targets for the Democrat Party and its members. They ruined black people’s lives

for generations, many still living with memories of those harsher times, and many still dealing

with its harsh after taste. Unfortunately, many still are in the chains of the metaphorical

Democrat plantation without knowledge of it.

       Now the Democrats, this city, and the jail target white people, Republicans (bonus points

if Trump supporters), and especially January 6th defendants. They call Trump supporters

“deplorables” just like they did to the black population in Montgomery. They call white people

evil through the schools Critical Race Theory and over the media; both avenues of attack used in

Montgomery in the past. Finally, they call us January 6th defendants “Worse than the Taliban and

the biggest threat to democracy” (it's supposed to be a Constitutional Republic). Edgar Hoover
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(director of the FBI), as well as the FBI said Martin Luther King Jr., Malcolm X, the Black

Panthers, the NAACP, and Angela Davis were the “biggest threats to democracy” as well.

       The shift of hate against us nationally is, in my opinion, best encapsulated by internal

Facebook documents reported by the Washington Post showing 90% of removed hate speech

was directed towards white people, especially white men.

       Montgomery was one of the harshest cities for the black population in the 1950s.

Similarly, this city (especially this jail), is one the harshest for a white, male, Trump supporter,

or a partaker in the welcomed museum tour/ Insurrection at the Capitol on January 6th 2021.

God help you if you are all 3 in the jail.

       This hate for others based off race and arbitrary classifications is exactly what Martin

Luther King Jr. Spoke out against as a pastor in Montgomery right across the street from the

State Capitol, the Cradle of the 1950s Confederacy and Civil War Confederacy. I'm no pastor,

but I too speak against these prejudices and abuses right across the street from the new Cradle of

the Confederacy, Washington D.C. The Capitol building is literally across the street from the

courthouse you’re reading this from. I'm not MLK, but I too speak out about these abuses from a

Democratic, city-run jail in Washington D.C., just as MLK did from the Democratic city jail of

Birmingham, Alabama.

       Even my black brothers in Montgomery were able to attend church, have clergy, attend

school, go to a barber and see their families, even if they were segregated. Therefore, I argued to

you that, as least in these areas, we have it worse than the black population did in 1950s

Montgomery.
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       I know some laugh at this, perhaps like some of them you find this to be ridiculous or

offensive. After all, unlike them we aren't being targeted financially by the Confederacy or

Democrats. Oh wait, Louis Learner weaponized the IRS against us in the Obama Administration.

       Well, officers aren't killing us without being charged. Oh, wait, Lt. Byrd is a "hero" for

killing Ashley Babbit and the cops who murdered Rosanne Boyland are as well (watch the

videos if you haven't, they are online to the public if you search, watch them beat her

unconscious swollen face in even more with a baton and their boots.) They also beat us in jail

and get away with it. Officer(s) Holmes and Taylor have committed multiple offenses and are

still employed at the jail, have no suspensions, and are praised by workers.

       At least we can meet in the Cradle of the Confederacy and know a violent mob of

Democrat domestic terrorists covering their faces won't show up to attack and or kill us like the

KKK. Oh wait, the leftist/ Democrat funded groups of ANTIFA and BLM cover up their faces

and do that to us. But wait, they call Trump supporters racists and Nazis, that means they can't be

the bad guys, right? At least our people aren't being targeted by Democrat bombers like our black

brothers were back then. However, in May 2020 Democrat domestic terrorists and

insurrectionists were firebombing the white house and were preparing car bombs outside it.

       The man you personally know that I met in jail, the Supreme Court Bomber who struck

months before January 6th, 2021, didn't just show a capability to fire bomb the Supreme Court

and the police vehicles outside of it, he shared with me that he had “created dirty bombs, with

used smoke detectors and other devices”, and gave them to an accomplice who shared he would

“blow them up in areas where lots of Republicans were present”. Despite this, the FBI seemed

uninterested in this information as did my attorney. " This was their response to me: “That

doesn't help us, do you have any information on anyone who attended the January 6th
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insurrection?". My response to them was: "Yes, I do, most of them are awesome and they love

America just like I do."

         At least all the bombers are held accountable unlike back then. Oh wait, virtue signaling

"Select" January 6th Committee members let the leftist bombers of the White House and Capitol

building go, while calling "Mee-Maw" (granny) a domestic terrorist for taking a photo inside the

capitol on January 6th.

         At least the Democrat Attorney General is fully pursuing charges against all the bombers

unlike in Montgomery and Birmingham, right? Quite the contrary, Merrimak Garland dropped

the charges of the White House and Capitol bombers. "Quick get that angry soccer mom at that

school board meeting! She's protesting my families’ investments in Criminal Race Theory!"

         I'm facing even more time in prison than the Supreme Court Bomber, decades, even more

than many murderers. A steep penalty for walking into the capitol with permission from Capitol

Police, taking some rad selfies, and leaving on my own without even being told to leave.

         This is typically the point where either most concede I have some good points, or where

the attacks come flying in. Some make arguments outside of ad hominem attacks, but very few

successfully go onto attempt to refute the central point. Regardless of where you stand I will

concede to you the obvious, us white people, Trump supporters and even January 6th defendants

AS A WHOLE do not have it as bad as our black brothers did under the Democrats of

Montgomery in the 1950s. However, things are getting worse for us, especially in the past year

with the selective hateful Democrats in charge, particularly in this city, and even more so in this

cities jail.

         This discrimination, racism, and hate must be put to a stop and punished; we know where

it leads based off the past. Fast forward from the past of 1950s Montgomery to present day South
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Africa. A country similar to ours in how in the past they grossly mistreated their black

populations. Nelson Mandella was pivotal in putting it to a stop. He too spoke out against his

unjust treatments from his oppressors from a jail cell. Then to my memory without internet he

was elected president in the 1980s or 1990s. Similar to how just a few decades later we elected

our first black President in 2008.

       Look at South Africa today, now white people are being targeted by both citizen and

government. They are being murdered, treated worse in society, and their own government years

ago passed legislation giving the government the ability to take away white people’s homes and

land all in the name of reparations. Most of the new victims of racism (the whites) had nothing to

do with oppressing anyone. In these areas South Africa seems to be decades ahead of us, but we

are showing some early signs that we could be on the same path.

       Joe Biden has been passing legislation that excludes white people from benefiting

(farming, student loans, something else. He is excluding hiring people based off race (Supreme

Court and Vice Presidents position), and he has been pushing for kids in the nation to be taught

how evil white people are through Critical Race Theory. This Capitol City and the American

people MUST put this to a stop. End the discrimination and racism against us, it is wrong to

employ towards anyone.

       When I ask some guards why they treat us differently they share "You's all be the leaders

of violent groups", "You's be havin white privledge", "MERGA HERGA DERGA!"(them

talking in a mask), ignore me, or laugh at our suffering. Some praise one another for hurting us

whether it be spiritually, emotionally, mentally, or even physically. They cover for each other’s

abuses (just as they did in Montgomery).
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       Most people wonder how the Nazis got away with what they did. I wonder how many

white Democrats in the 1950s and 1960s decried the treatment of the Jews in Europe and then

turned to spit, deprive, discriminate, beat, or kill their black neighbors. Many people I've met are

baffled how others could have treated the black population with so much hate and contempt.

Some of those same people, within minutes if not seconds after, began touting their hatred for

white men or Trump supporters. Some of these people shared they would be the ones to stand up

against the crowd and put racism and discrimination to an end if they could go back in time. I

share their sentiments. However, people don't truly learn from history. Thus, history repeats

itself, many don't recognize they're those same hateful people, just in a new time frame with new

targets. They are unknowingly hypocrites and meaningless virtue signalers, targeting and

praising the targeting of others based off race or arbitrary classifications. What these people and

everyone must understand is that regardless of race, arbitrary classifications, or beliefs, we are all

children of God and regardless of anyone’s feelings or what is trending, everyone should be

treated equally as you also would want to be treated.

       I worry though, the Democrats have more power, experience, and cunning than they did

decades ago. The judges in Montgomery were either silent or helping cause the abuse of the

black population. The media and mobs of that city did and would ridicule any for daring to

defend against the cities most hated group.

       We are the cities “most hated group”. They ignored the severe issues I shared with them

about our treatment, omitting them to minimize the problems to the reader and create their own

"white privilege cry-babies" fake news narrative. The Democrat media in Montgomery did the

same to their targets back then, always trying to discredit, minimize, narrate, and justify.
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       I sit by and take note speedy trial violations, discovery violations, Bail Reform Act

violations, Prison Litigation Reform Act violations, 1st, 4th, 6th, 8th, 10th, and 14th amendment

violations being ignored for over 1 year in many January 6th Defendants cases.

       Your honor, which side would you have been on in 1950s Montgomery? Would you have

helped or hurt the black population in Montgomery Alabama? Would you be silent and let the

discrimination and constitutional violations continue until someone else stopped it? Would you

have helped cause and continue the abuse, or would you have put it to an end?

       If you deny ruling in favor for my requests for relief you will have your answer, as will I,

as will any other historically objective person. Don't be like the Judges in 1950s Montgomery,

pass this motion and punish the criminal perpetrators. Be brave, stand out from the historical

trends, stand for our constitution (for all people), do not be persuaded by todays propagandists

("Journalists"/ "Media"), don't be persuaded by the hateful or weak politicians of this city, and

don't be persuaded by the ignorant mobs of this city. We do not praise the actions of those who

followed the trends like Rosa Parks bus driver, we praise Rosa Parks. We praise those who spoke

up and took a stand even if they suffered and were ridiculed by the fools.

       Should you need further persuading, you may consider the next section a continuation of

legal arguments already presented near the end of document 58-1 filed on December 1st 2021,

but digging into new subjects mostly not already presented.

Section 2:

    Though already touched on in court and in document 58-1, I'd like to reinforce some

positions, as well as bring up new ones. To me the argument of whether you have discretion to

rule on these matters must be dealt with first:
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   a. I offer substantial and irrefutable proof that you DO indeed have the discretion to rule on

       these large issues because the grievance process has been exhausted. Not only that but it

       was and still is non-functional. The jail has been warned and asked for a long time to fix

       this, but with leadership like Kathleen Landerkin (Warden who has failed at other jails)

       there is little hope for change internally, and there has been no change, only worsening

       conditions.

   b. I point to document 58-1, page 14, on it there are 16 people who attest that a super

       majority of their grievances go unanswered. More than one third of them attest they have

       been threatened or punished in retaliation of writing grievances. Both actions are forms of

       silencing our requests for relief internally as the Prison Litigation Reform Act requires,

       which is completely illegal and punishable. Even worse, 100% of people attested that

       “step 3” of the grievance process was unavailable, halting any would-be grievances from

       ever being internally exhausted (also very illegal and punishable). EVEN WORSE, 100

       % of people attested step 3 had not been available since they arrived, meaning it was

       unavailable since AT LEAST early January 2021.

    On December 16th, 2021, months after I filed document 58-1 and weeks after it was

published on the ECF, we January 6th defendants had a visit. At approximately 5:50 p.m. I raised

this issue to Chief Anderson of the United States Marshall Services. He is in charge of 68,000

pretrial detainees in the United States, Puerto Rico, and Guam. This is a brief synopsis of our

conversation regarding the jail’s grievance process:

       Mr. Anderson kept repeating "You must exhaust the jails grievance process first before I

can help". I raised my hand and asked "Hypothetically if one of the steps was missing from the

grievance process and there was no way around it, would that make the process exhausted?
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"Hypothetically yes, that would mean they couldn't truly be resolved by the jail." he responded.

"And what would you do if this was the case?" I asked. "I would take record of it and work to get

it fixed ASAP." He responded. "Well, this isn't hypothetical, step 3 out of the 4 step grievance

process is non-existent and has been for at least over 11 months." I shared. "I would need proof."

He responded. "Perfect, I've got it right here." I rebutted.

       I handed him my tablet and showed him step one worked but noted "They rarely respond

but even if they do it's typically months later." Then I showed him step 2 worked and shared "I

don't recall ever getting a step 2 grievance back, however even if I did, try to access step 3, see

what happens." I then let him investigate and click and re-click over and over as the tablet

continually read "Step 3 unavailable at this time". He also had someone else login on a different

tablet and the same problem occurred. He also took note that no paper forms of step 3 were

available. Upon seeing this he ended the public meeting and asked for me to come over to the

table next to the microwave with him. He and I talked as he snapped photos of my tablet

displaying the issue and took note no paper versions were available. I asked him if I could cite

him and the photographs in court and he shared "Of course!"

       On 2/18/22, one week after I brought up Chief Anderson to the court, he and a Marvin

Bickham (Marshall) came into the pod and between 12 pm and 12:35 pm I spoke with the both

of them. I offered a way to fix the grievance process which they both described as "still broken"

and "nonexistent". I said:

“The jail should enforce requiring our signatures in person when they hand us the grievances so

they are more inclined to bring them in the first place, and when they do actually bring them,

they can't just slide them under our door with a typed-up response date showing it was taken
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care of months ago (which most of the time it wasn't. We need a verification process to hold

these loophole criminals accountable.”

       I share this with the court, as a potential order to fix the broken process once and for all,

and to the benefit of all. Additionally, should an inmate refuse to sign, the jail should get that

refusal on tape so there’s no room for loopholes for either side. Point being, again what I've

accused is verified by the Marshalls, the process is still broken and exhausted internally.

       Therefore, our grievance process is just as I and others attested, exhausted and had been

exhausted before it even began (at least ever since our arrival). Since the grievance process has

been exhausted illegally, in more ways than one, (for over 13 months at the very least) this court

has the discretion to rule on Access to Court violations and requests for relief.

       Before touching on relevant case law, I would like to address a potential excuse I foresee

being used by the opposition, and perhaps even recognized and supported by this court. After all,

when we lightly began to discuss the issues on January 6th, 2021, the court said something to the

effect of "Well the jail is in a medical state right now." This to me was a warning sign I must

address this excuse because I don't want it further influencing the courts decisions; although it

shouldn’t, considering how this court has ruled on near identical issues in the past when COVID

was a bit more mysterious.

       I agree with the court, the jail was in a medical state, in fact, it still is. The medical state it

is suffering from (only to name a few of many) includes being plagued with irrational fears,

enforcing non-sensical rules, being mentally incapable of following the science, being physically

unable to stand up towards the destructive constitutionally illegal stupidity, and being

emotionally unfit to get past the disinformation and cult like following of what I call “Fauci-

ism”. I ask the court to please follow the science. Below are some helpful starting positions.
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1. On 1/31/22, John Hopkins Medical School released a study showing lock downs and

   mask mandates COMBINED were 0.2% effective (99.98% ineffective). Imagine a

   student going to college and only getting a 0.2% average after 2 years, if you are the

   parent, are you going to continue to pay astronomical prices to keep sending them to

   school? What if in a socialist state like N.Y. the community is paying to send that kid to

   school, don't you think it would be inconsiderate/ irresponsible of them (the government)

   to force the people to continue to pay for something that is so ineffective? Lockdowns

   and mask mandates are way more damaging, so why are we still not following the

   science? I can tell you why, as can the bank account of a politician, or a deeper look at

   their biggest campaign donor(s). Lockdowns and mask mandates are a terrible investment

   for you and the community, it's way past time to sell.

2. On 2/4/22 the CDC admitted natural immunity (which is not a recent discovery) is more

   effective than the vaccine. Yet DOCTORS in the “Fauci cult” have been looking at me as

   though I'm crazy for saying this both in the D.C. jail and outside it, SCARY TIMES!

   Additionally, we all caught Covid (ironically from one of the few vaccinated people) and

   got over it. We have natural immunity now; we are statistically the safest pod in the D.C.

   jail (in more ways than one). You're welcome D.C., we made you safer by not getting

   vaccinated as you all stupidly yelled at us about how selfish it was to not get vaccinated.

   Don't worry, I understand most of you lack the character to apologize and admit your

   wrongs, no apologies needed. Get well soon.

3. On 2/3/22 the CDC said the top 3 causes of death for 18–45-year old’s, was Fentanyl at

   number one, and yet the boarder is open for all, and drugs are rampant in the D.C. jail. In

   second place came suicide which is also a problem in the United States (which was made
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       worse from ineffective tyrannical lockdowns) and the D.C. jail. COVID with its inflated

       death rates came in at number 3. It is worthy to also note most people that died with

       Covid had an average of 5 or more underlying conditions, such as obesity. Isn't it odd

       Democrats "mask shame" still despite that it's ineffective and yet it’s politically incorrect

       to "fat shame" despite that it’s huge factor/risk? I'm not super glad my tax dollars went to

       help pay for the death of millions across the globe including my grandmother, or the

       destruction of our economy and constitutional rights for 2 years and counting. In fact, I'm

       pretty pissed.

   4. On 10/21/21 Florida had 12k Covid cases per 100k. New York had 25k per 100k.

       Washington DC had 31k per 100k. Some noteworthy things are that Florida was the

       poster child for anti-lockdown and mask mandate laws. DC was the poster child of the

       most intense lockdown laws currently (California was worse earlier the previous year).

       The vaccination rate in DC was sky high compared to Florida. Additionally, Covid

       mostly effects 65 and older populations. Florida, out of 50 states has the oldest population

       per capita. Despite this, California (5th youngest population per capita), NY, and DC all

       had more cases and deaths per capita. What is even crazier is this did not account for

       New York’s nursing home death cover-ups. Point being, lots of cover ups happened, even

       with the help of cover ups the mask mandates and lockdowns were 99.98% ineffective.

       Considering the many negatives that come along with lockdowns including but not

limited to mental problems, depression, suicide, increased murders, increased crime, obesity,

drug dependency, drug overdoses, increased domestic violence, increased child abuse, loss of

social skills, debt at the personal level all the way up to global level, etc. This is more of a reason

to give us January 6th defendants our rights back, and to further the rights of others in the jail.
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These should have never been stolen and or denied in the first place. Suicide rates in jail are

higher than in the civilian population, so taking away and refusing to give back all our rights is

not only unjustified, it is unusually cruel and dangerously irrational.

       Now moving on, I want the court to keep in mind/ be reminded of 3 Supreme Court

rulings both on these issues in this motion and the rest of my issues/ Access-to-Court violations

already presented in document 58-1.

   1. The Cooper V. Pete Case of 1964: They reversed an appellate court decision and agreed

       with the prisoner. Prisoners now had rights guaranteed by the constitution and could

       therefore seek assistance from the courts to change the conditions on Access-to-Courts,

       political expression, freedom of religion, right to have access to law libraries, and other

       issues.

   2. The 1977 Wolfish V. Levi case that held "with respect to pre-trial detainees," "They are

       presumed to be innocent and held only to ensure their presence at trial, any deprivation or

       restriction of rights beyond those which are necessary for confinement alone must be

       justified by a compelling necessity." I ask the court to remember, convicted prisoners are

       afforded these rights, and pre-trial detainees (which is what we are), are supposed to have

       those rights protected even more so. We are supposed to have even greater freedoms than

       convicted prisoners. The opposite has happened to us in the D.C. jail.

   3. The Thompson V. Gomez case: Here a prisoner won a claim against a California prison.

       They are quoted as saying "The PLRA defines "prospective relief" as all relief other than

       monetary damages." They define relief as "all relief in any form that may be granted or

       approved of by the court and includes consent decrees." 18 U.S.C §3626 (g)(q). This

       provision allows the judge to force church/ religious services to be allowed, free weights
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       to be provided, ear plugs to be provided, even walls to be built to reduce noise among

       other actions. Additionally, it cites "Actual injury does not necessarily mean absolute

       prejudice; significant delays that hinder or impede a claim are enough." (That is very

       relevant to quite a few of my Access-to-Court violations as well).

       Now with those fresh in the courts mind, let’s get into some more case law and legal

arguments (in some ways more specific):

   1. The 1st Amendment: Congress shall make no law respecting an establishment of religion

       or prohibiting the free exercise thereof; or abridging the freedom of speech.

   -   Comments: The founding fathers fled their countries due to many reasons, many

       referenced because of religious or political persecution. They saw this as such an

       important right they put their lives on the line for it in founding this country and made it

       the first Amendment. If Congress shall make no law respecting taking away this right,

       then no court, let alone a Swamp City, let alone a crappy jail in a Swamp City should be

       allowed to take this right away. No excuses.

   2. The 8th Amendment: Excessive bail shall not be required, nor excessive fines imposed,

       nor cruel and unusual punishments inflicted.

   -   Comments: The cruel and unusual punishments clause has been the basis for challenges

       to the death penalty. It was ruled cruel and unusual even for death row inmates to only

       receive 22 and 2 hour rec times, and in many other areas they had more freedoms than us.

       I personally was kept in my cell and not allowed to even shower for 9 days. No phone

       calls for weeks. Kept in a cell with no working toilet for 6 days. No laundry for 1 month,

       no sunlight for months, no haircuts since arrival, no shaves since arrival. Haven't seen

       families faces since June. Haven't once seen a pastor, haven't once gone to church. Covid
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    is not an excuse to treat us worse than abused dogs. I can't believe I have to ague this for

    months on end with today’s access to technology/ accessible knowledge/ history in the

    Capitol of this country/ the Capitol of the world in 2022. SAD! PATHETIC!

    RIDICULOUS!

3. The 14th Amendment: No State shall make or enforce any law which shall abridge the

    privileges or immunities of citizens of the United States; nor shall any State deprive any

    person of life, liberty, or property without due process of law; nor deny to any person

    within its jurisdictions the equal protection of the laws.

-   Comments: This Amendment establishes that ALL citizens are entitled to "equal

    protection of the laws." This provision was cited in Brown V. Board of Education in

    1954, ruling school segregation unconstitutional, angering racist Joe Biden. Quite simply,

    if others in jail can attend mosque, we should be able to attend church. If they get to meet

    with an Imam, we should be allowed to meet with a pastor. If they get to go to

    classrooms, college, and learn trades we should be able to as well. If others get haircuts in

    the jail barbershop, we should not feel similar to our black brothers in 1950s

    Montgomery being told " These services aren't for you." If others can see their family/

    lawyers in person than we should be able to as well. If they get 5 hours of rec, they

    should get more, and we should get the same if not more because we are pre-trial

    detainees, not convicted prisoners. We most definitely should not get 0 hours a day for

    weeks, or only 2, or only 3. Finally, if they have access to video calls, we should have

    access to video calls. This jail has gone further than segregation, they have denied us of

    essential rights entirely for over 1 year. The founding fathers only took the tyrannical

    abuse from the British so long, fix it now please. I'm not looking to run away from this
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   jail, I want it fixed for myself and others. The founding fathers didn't run, they stayed,

   fought, and helped bring about relief and change to its citizens both immediately and for

   the future.

4. The Supreme Court said pre-trial detainees shall enjoy freedom of speech and religion in

   both Pell V. Procunier and Cruz V. Beto.

5. The Supreme Court ruled Covid is not an excuse to avoid the constitution in Roman

   Catholic Diocese of Brooklyn V. Cuomo. That includes all the Amendments I just read

   along with the issues I've presented and will present when I sue this City and Jail in a

   future Class Action lawsuit I helped organize. Please save this jail and city some money,

   give me and the others less to sue about. Though the money will help, it won't make up

   for the tremendous damages we have suffered. But reading number 6, this court knows

   money can't make up for this, I'm preaching to the choir.

6. Finally, you personally ruled on two similar cases last year (2021) and the year before

   that in both Roman Catholic Archbishop V. Bowser and Capitol Hill Baptist Church V.

   Bowser. In them you’re quoted as saying "The loss of first Amendment freedoms, for

   even MINIMAL periods of time unquestionably constitutes irreparable injury." The time

   frames in question were weeks, not months, let alone over a year as we have suffered,

   and perhaps even longer for others. All this while others enjoy their religious freedoms in

   the jail. Imagine if anti-science Muriel Bowser had allowed mosques open but not

   churches. Imagine she said, "Only Democrats can go to church, all others have lost their

   constitutional rights indefinitely." I know you would have struck it down because you

   struck it down based off of way fewer radical situations.
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       Here we have 58 and counting weeks, not 1 week. Others get these services, we don't. It

was less mainstream that natural immunity worked better at the times you ruled in those cases. It

was less mainstream that lockdowns and mask mandates combined were only 0.2 % effective

(99.98% ineffective). The effects of lockdowns were not as mainstream or apparent to many. We

suffered way more than the parties you gave relief to on just the subject of church, that is why

relief must be granted and statements issued.

       You were quoted as saying "Missing a chance to gather on Sunday is not a mere injury in

terms of money, time, and energy, but instead a harm for which there can be no do over and no

redress." If that is how you felt over one missed Sunday, how do you feel about over 58 and

counting Sundays? If you don't grant this relief than I need to go back to elementary school to

get a new understanding of basic math. "One missed Sunday equals too many, but 58 and above

is just right." is what the court would be proclaiming if it denies this motion. This is just on

church alone, what of the other constitutional issues? I hate math, please, make some sense of

this equation, rule in favor of my requests.

       Another similarity to these cases is how you realized there was no justification for

denying the relief to the applicants because it was clear the matter was not moot. The applicants

remained under a constant threat that the area in question will be reclassified because the state

regularly changes the classification of areas without prior notice. "If that were to occur, the

reclassification will almost certainly bar individuals in the affected area from attending services

before judicial relief can be obtained" What great foresight you had, after all, D.C has gone

through multiple reclassifications since then.

       The same thought process would not only serve to protect Jan Sixers or the unvaccinated,

but all in the D.C. jail. After all, similar to how you noted restaurants had unlimited outdoor
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dining and 50 percent (or more) capacity with indoor dining, you recognized the nonsense.

Similarly, up to 50 people live in a pod whose open space and common area is the size of the

chapel if not smaller. Despite this the jail has one service and only allows 10 people to attend if

they are vaccinated and not January 6th defendants. Should the cult members be so terrified of

ending this total denial, they could at least be kind enough to move us into the realm of

segregation and allow an actual Pastor to come into our pod on Sunday mornings and preach

there with us. Though, this would be tough as phones are next to the common area. Another idea

is to have chapel in a giant space like the gym (capacity is over 500 people and is empty on all

day Sunday). Either way, something must be done, this jail holds 1400 people, only allowing 10

people of a certain group to benefit is not proper or legal.

       Two final quotes I loved; both are very similar: Citing Roman Catholic Diocese of

Brooklyn V. Cuomo:

       - "Even in a pandemic the constitution cannot be put away and forgotten."

       Now Citing Roberts V. Neace of the 6th Circuit in 2020:

       - " While the law may take periodic naps during a pandemic, we will not let it sleep

through one."

       The D.C. Jail has been sleeping through the law for decades. Like a troublesome child

tells his rushing mother in the morning "Ughhh, yes mom, I'm up and getting ready for school."

and then goes back to bed, so to be this jail doing the same to the courts when they were found in

contempt in October. The mother then leaves to go focus on her other priorities as the kid pops

some sleeping pills and falls asleep even deeper than before. The jail also popped some sleeping

pills to sleep through the law as the courts moved along to focus on their other priorities shortly

after investigating the jail in October. Consider me the school calling the father to let him know
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of the troublesome child’s absences. We know what the authorities say on a kid who continually

skips school, they can be taken away or face sanctions (summer school/ failing). We also know

what Congress and the Supreme Court say on the issues I've presented. This court has the

discretion like a father to discipline the troublesome child/ jail. Just because it was punished

months ago is not a reason to avoid punishing it again. It is still skipping the laws it wants to, it

has not learned its lesson, it has gotten worse.

       Last time the jail was told they would lose 400 inmates for their sleeping through the law.

The equivalent of a smaller allowance given. Their metaphorical mother Muriel Bowser argued

the punishment was too severe. They then lost less than 200 inmates. They haven't shaped up,

they need more than harsh punishments, they need reforms. They need to be taught how to get

their grades up, how to follow the law. The bad habits (people) mist be terminated and replaced

with healthy ones. The best parents don't just punish when their children fail, they offer solutions

to help them succeed. Keep in mind though, this jail has been constitutionally abusing inmates,

and especially us Jan Sixers for a long time, this is not some innocent child. If this jail were a

person, it would be a deviant psychopath. Bring punishments down upon it while offering it help

to behave normally as the law requires in the future.

       The law has been asleep in the D.C. jail for decades, it's time Lady Liberty woke it up

with a righteous beat down using the scales of justice as a weapon. This court is the only one

holding lady liberty back, let the beatdown commence! I've got front row tickets and I've got

stale popcorn from the commissary!

       If this court doesn't allow the legal beatdown now, the jail and city will suffer an even

worse beatdown from us in the future as every day without our rights is more money we will be
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taking from this jail and this city. Help us, and at the same time help the city and the jail. Passing

my requests for relief is a GREAT investment for all parties.

Section 3.1

   -   Regarding my historical arguments/ correlations of my treatment to the black population

       in Montgomery Alabama in the 1950s:

       In the event the court or government subtly or outwardly agrees with another often heard

dismissive argument that "I'm white and shouldn't/ have no right to relate my suffering to MLK,

or others in the black community of that era", this again is history repeating itself. The

Democrats did the same to the black population in 1950s Montgomery. For many years

Democrats argued black people weren't smart enough, human enough, or citizen enough to vote.

They argued they should have no say on voting and tried to silence them or scare them. Race

does not matter, Martin Luther King Jr. was a man just as I am, tired of the oppression of his

people and hoping for better days.

       I, unlike Martin Luther King, have not had a dream of the day we are all treated equally.

However, I have daydreamed often of what it would be like to hear I have my first Amendment

rights back. I've daydreamed of being both in a political prison church and in civilian church

praying and singing with my brothers and sisters of many different backgrounds and races.

       I've daydreamed of what it would be like to go to mock trial classes in political prison

with the other inmates, Jan Sixers or not, maybe even seeing the friends I made in Northwest 3 or

2 South. I've daydreamed of what I would ask and discuss with a pastor both at the political

prison and outside it. I've daydreamed of the excitement I would feel upon hearing I too could

get a haircut and shave without having to pay 15 dollars to apply a cream and then proceed to

have to burn and rip it off leaving red marks and blisters everywhere.
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        I've daydreamed about being treated at least the same as a death row inmate, and perhaps

even better, especially in terms of being let out of my cell. I've daydreamed of not having to

write nearly everything on a rusty metal bed next to a cold stone wall, and instead be allowed to

the common area to write on a desk. I've daydreamed of being able to see my family both as a

political prisoner and a civilian. I've daydreamed of not losing my grandmother and grandfather

since being locked in this political prison. I've even daydreamed of meeting more fake news

journalists face to face to give them a chance to produce the actual story I present to them and

not twist it, and of course to apply a name to a face so it makes it easier to pray for such people.

Finally, I've daydreamed of us having video calls like the other inmates have so myself and

others from far away states like California, Colorado, Florida, ect. can see their families for the

first time in over a year.

        Racism and discrimination can be used to hurt anyone. The court next time it sees me can

feel free to take notice the scars on the left side of my face and beneath my eye. They are from

concrete pebbles being scraped into my head and that were stuck in my head. They are the results

of actual racism, not some fake Jesse Smollett racism.

        One week before graduation from high school I was jumped because of my race and

robbed. Eight or so individuals (who happened to be black) thought I had money because I went

to a "rich white school" and demanded I give them my backpack. I told them I just left work and

it only had my work clothes in it, they demanded it and I said no. They then proceeded to jump

me while attacking my race verbally. Right before being knocked out I remember on the concrete

seeing and hearing a black woman (that potentially knew them) come out towards me screaming

"Stop, you are going to kill him!" and one of the men punched her in her face and told her to
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"Get the f** away". That was the last thing I remember. I was found on the side of the road at 2

or 3 in the morning by a Latino male and a black male who brought me to the hospital.

       Take aways from this are as stated, racism and discrimination can happen to anyone,

there are bad people and good people in every group of race and arbitrary classification. There

are decent Democrats, and decent Trump supporters, there are also bad. There are decent white

people and decent black people, there are also bad. Every group has good and bad.

       I've suffered plenty more verbal attacks based off of my race and sex throughout the

years, but again, it' not as bad OVERALL compared to my black brothers and sisters in 1950s

Montgomery. However, it is getting worse for me, for males, white males, Trump supporters, the

unvaccinated, and Jan Sixers as a whole. I don't want us to become like the fools in South Africa.

To do that, we must protect the rights of all men equally. We must deter discrimination. We must

punish severely those who purposely and knowingly practice and employ discrimination,

especially when they show they love doing it. This leads me again to one of my major requests.

Granting the relief, I've asked for would be a victory, but more must be done. We must punish

the criminal perpetrators.

       Judge, car jackings in this "mostly peaceful" city are off the charts. I imagine if the DOJ

got tough on actual criminals and prosecuted them without handing off "feel free to do it again"

plea deals, or dropping the charges, you would punish them. Imagine before you sit a carjacker

who stole a vehicle from someone based off an arbitrary classification or their race and kept the

stolen car for 13 months. I'm willing to bet you would do something about it. I doubt you would

just say "Hey there friend, could you please give that car back that you stole from the victim

based off of his race or arbitrary classification?" I'm willing to bet you'd say more than "How

dare you! Give that car back and go free with no penalty!"
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       To the contrary, they would face fines, jail time, a record, restitution, perhaps even parole

afterwards. After all, think of the domino effect that lost car would have taken on its owner that

year. Loss of income, opportunities, visiting family, getting time away from city life, the ability

to go to the barber, to school, not to mention the potential mental, physical, and emotional

damages caused to the victim. Simply ordering the car to be given back would insult the victim,

reward the oppressor/ criminal, not to mention welcome future occurrences.

       Now I want you to imagine a giant local criminal syndicate that has been abusing

thousands of people for decades is before you. Just months ago, they were found to have lied to

the court and covered up a crime that ended up hurting a cancer patient, which lead to an

investigation that found they were forcing at least 400 people to live in subpar conditions and

suffering varying levels of abuse, all with reports that they ran to cover up other conditions (I

attest they DID cover up our conditions). Now I want you to imagine this criminal syndicate has

new charges, they stole at least 50 peoples’ cars since at least 13 months ago, and stole them

based off of race or arbitrary classifications of the victims.

       I'm willing to bet they would not just be told to give the cars back or verbally scolded.

After all, such a response would make objective onlookers wonder "Why is this Judge seemingly

protecting this large criminal syndicate and doing nothing to help the victims?" Which of course

leads down to some potential dark answers.

       Now your honor, I don't have to tell you missing church alone is worse than losing a car,

after all, you are quoted as saying "Missing a chance to gather on Sunday is not a mere injury in

terms of money, time, and energy (all of which go into the purchasing of a car), but instead a

harm for which there can be no do over and no redress." I once had my car stolen and totaled in

2016 by an illegal immigrant from Pakistan. They had no money (despite that they had free
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housing, unemployment, and food stamps) so I rode my motorcycle through the freezing winter

for months. Now we Jan Sixers didn't just lose church; we don't have any of the Triple C's or

HR-double V's. All this for up to 13 months and counting while others are getting these services.

This is way worse than a criminal syndicate stealing 50 people’s cars based off of arbitrary

classifications for over one year. Yet here we are, still not given back our constitutional rights

that have been illegally stolen from us.

        Your honor, would you punish a criminal syndicate who stole 50 cars for over 1 year

based off of race and or arbitrary classifications? Would you punish a constitutional abusing jail

that did worse than that? Will you? Your response will show if justice truly is for all and if

justice is blind in this court room. You have the discretion to rule on this matter. You can and

should grant relief/ hold the criminals in contempt.

Section 3.2

        Now I understand after looking at how Hilary Clinton planned an insurrection in 2016 as

seen in the Duram reports(Russia Hoax), how she lied about her emails, how she lied about

Benghazi, how she sent men to intimidate Monica Lewinski (#notwithher), how the FBI refused

to do anything with Hunter Bidens laptop, Nancy Pelosi’s stock market schemes, Nancy Pelosi’s

sons business dealings, Cuomo killing off thousands of senior citizens, General Mileys offering

to keep China in on the loop secretly of what our president was doing, Joe Biden and Barrack

Obama materially supporting terrorist organizations and regimes like the Taliban and Iran, FBI

director James Comey's lies, Kamala Harris and other Democrats funding insurrectionists (BLM

and Antifa) bail funds, Merrimac Garland's many lies/crimes, and plenty of other high crimes,

that in this Cities institutions justice is neither blind nor for all, there is Democrat and Elitist

privilege. Still, I can't help but ask and challenge you to stand against what is normal in this
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Swamp city. I can't help but beg you to follow and defend the constitution that you took an oath

to follow and protect. I can't help begging you to punish the criminals who are illegally hurting

others and myself with no remorse.

       As mentioned, I recommend each step of the grievance process have a verification

method set in place. This could include an inmate signature or a recording of the inmate

receiving his grievance document with the grievance document number being read to him as it is

handed off. This will eliminate the jail from being able to claim they handed it to us, or that they

responded when they have not. Additionally, it should be investigated if the jail can delete

electronic versions of our grievances and whether they have done so to paper copies.

       Speaking from experience auditing nearly all the Wal Marts in the Northeast in 2016, a

third-party auditor is the best way to keep corruption out. When Wal Mart employees did the

internal audits, they were motivated to lie. A great audit report would produce bonuses for that

quarter to the employees of that department and or store along with favoritism and promotions. A

bad result would bring about a bad reputation and potentially the words "Your're fired" (Trump

voice). Elections should not be internally audited, nor should the jails grievance process, it

protects corruption.

       Another reform idea is that the marshals should conduct private meetings with jail staff to

investigate if they know whether the grievance process has been destroyed or purposely ignored

by others, but if you want the best results, they must be offered the ability to remain anonymous.

Some of the employees are retaliatory, and a lot of employees are from a third world country on

a work visa. They fear if they are fired, they will be sent back to their country, this makes them

the perfect group of people to listen to all orders no matter how abusive.
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        On 2/22/22 I received 4 grievances back, nearly all are relevant to these issues. In court I

will be motioning to submit them as exhibits to support my claims. They will have very brief

further descriptions and examples of the issues. They not only further show the grievance

process is broken, but they also relate to the issues I've presented months ago as well as how the

jail is scrambling to cover itself as best as it can now that it is about to be called out.

        Finally, since I'm ending with requests to hold the criminals accountable and requests for

ways to solve these issues to the benefit of all/ reforms, I'd like to push 3 final case laws to be in

the minds of the court as it prepares to make its decision on what will be done.

1). Government officials do not enjoy qualified immunity from civil damages if their conduct

violates " clearly established constitutional or statutory rights of which a reasonable person

would have known." Harlow V. Fitzgerald 73 Ed. 2d 396 (1982)

- Comments: Though this is not civil court, these are civil rights issues, the denial of which was

criminal. Not only are these laws known by nearly all competent people, but they were

constantly warned to stop the abuse by others like myself, lawyers, judges, and even Congress

members. Should they have been ignorant to the law, as this court has said, that's no excuse.

However, that is not the case here.

2). Qualified immunity will not protect the plainly incompetent or those who knowingly violate

the law. Hunter V. Bryant 116 L. Ed. 2d 589 (1991)

- Comments: See previous comments

3). Although there is no pure respondent superior liability under § 1983, a supervisor IS liable

for the acts of his subordinates "if a supervisor participated in, directed, or ignored the violations

and failed to prevent them." Taylor V. List 1045 9th Cir. 1989)
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- Comments: Our complaints have gone all the way to the top, we have conducted sit ins and

spoken to Lt, captains, Majors, Corporals, directors, and wardens. They know our plight, all do,

they do worse than ignore, they continue to order such harsh unconstitutional treatments. They

are criminals.

       The jail has shown through the grievance process they don't care about the inmates, the

laws, or the courts. The PLRA is not only to protect inmates, but to protect the courts from

having to rule on every single issue from an inmate. Since the grievance process is nonexistent,

the court has jurisdiction to rule on all violations and complaints from prisoners. They have been

warned by many, me, other inmates, our families, jail staff, lawyers, media, judges, and Congress

members. Do not be lenient with them, they made your job tougher, and many people’s lives

miserable as they ignored laws and the constitution. Please punish the criminal syndicate.

                                            Conclusion

       I, Brandon Fellows, respectfully ask the Judge to grant my relief and stop the

unconstitutional abuse toward myself and all January 6th defendants in the D.C correctional

facility, as well as any others being abused unconstitutionally as well in the jail. One primary

goal I have is to receive the triple C's and HR double V's we require. Additionally, I implore you

to help us fix and enforce the jails grievance process, as many key elements in the chain have

broken down. I also request that constitutional liberties such as Church, Clergy, Classrooms,

Haircuts, Recreation, Visitations, and Video calls be available to us, just as they are available to

every American citizen. Separately, papers, stamps, pens, and other office supplies should be

provided to us. These are what everyone else gets aside from we January 6th defendants in the

pod. Even the vaccinated defendants don't get these services (except haircuts).
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        Furthermore, on multiple instances within this motion I compare the plight of the January

6th defendants to those of the American civil rights movement of the 1960s. I challenge you, let

justice be done. Rule in favor of these motions, and punish the criminal perpetrators, stand

against the grain of this corrupt city and its corrupt institutions. Stand against the historical trends

however hard that may be and despite the trouble it may bring. If you fail to act in a positive way

on these motions, as mentioned earlier, you will have your answer on what Judge you would

have been in 1950s Montgomery Alabama.

        In many ways progress has been made for the black people of this country, much still

must be done. However, we can look back and read what Judges made the right decisions in

Brown V. Board of Education. We can look back and see the people who fought for the

constitutional rights of the black population in America. We can also see who was silent, and

who helped cause their oppression. Don't choose what is easy today, in exchange for an eternity

of shame. That is relevant spiritually as well, don't choose sin over God. I'm far from politically

correct but I really do hope you do what is right.



Date: March 9, 2022                             Respectfully,


                                                /s/

                                                Brandon Fellows
                                                Pro se
